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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                             :   CHAPTER 11
                                                   :
AMERICAN UNDERWRITING                              :   CASE NO. 18-58406 - SMS
SERVICES, LLC,                                     :
                                                   :
                 DEBTOR.                           :


                  UNITED STATES TRUSTEE’S MOTION FOR AN ORDER
              DIRECTING THE APPOINTMENT OF A CHAPTER 11 TRUSTEE,
              OR IN THE ALTERNATIVE CONVERTING CASE TO CHAPTER 7,
                 AND REQUEST FOR HEARING ON AN EXPEDITED BASIS

         COMES NOW the United States Trustee for Region 21, in furtherance of the

administrative responsibilities imposed by 28 U.S.C. § 586(a), and pursuant to 11 U.S.C. § 1104(a)

and (e), respectfully moves this Court for the entry of an order directing the appointment of a

chapter 11 trustee in the above-captioned case to manage the debtor’s affairs. In the alternative,

the United States Trustee seeks conversion of Debtor’s case to chapter 7. In support thereof, the

United States Trustee represents as follows:

Procedural History

         1.      American Underwriting Services, LLC (the “Debtor”) commenced this case by

filing a voluntary petition for relief under chapter 11 of the United States Bankruptcy Code on

May 18, 2018 (the “Petition Date”).

         2.      No trustee has been appointed in the case, and Debtor has remained in control of

the assets and business operations of the bankruptcy estate as a debtor in possession.

         3.      Debtor is an insurance underwriter, and its principal place of business is located at

1255 Roberts Blvd., Suite 102, Kennesaw, GA 30155.

         4.      Debtor’s sole member and manager is The Wiley Group, Inc.
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       5.      J. Russ Wiley (“Mr. Wiley”) is the sole shareholder of The Wiley Group, Inc.

       6.      On December 14, 2017, Cobb County, Georgia indicted Mr. Wiley on three counts

of theft by conversion, O.C.G.A. § 16-8-4, and six counts of felony insurance premium fraud,

O.C.G.A. § 33-23-35.

       7.      In the indictment, Cobb County alleges that Mr. Wiley, in his personal capacity and

as owner of Debtor, collected premiums on behalf of ProSight/New York Marine and General Life

Insurance Company (“ProSight”) and converted the funds to his own use.

       8.      In the indictment, Cobb County further alleges Mr. Wiley willfully failed to account

for ProSight’s funds and commingled the funds with his personal funds and the funds of Debtor.

       9.      Upon information and belief, prior to the Petition Date, Mr. Wiley caused Debtor’s

funds to be deposited into non-Debtor bank accounts.

       10.     Upon information and belief, approximately $250,000.00 of Debtor’s funds are

currently being held in non-Debtor accounts.

       11.     Upon information and belief, prior to the Petition Date, Mr. Wiley caused Debtor

to fail to deposit approximately $100,000.00 of premium checks Debtor received.

       12.     On May 21, 2018, the United States Trustee advised Debtor’s counsel that all

Debtor funds needed to be deposited into Debtor accounts.

Appointment of a chapter 11 trustee

       13.     The United States Trustee seeks the appointment of a chapter 11 trustee to replace

the Debtor’s current management. Section 1104(e) compels the United States Trustee to move for

appointment of a chapter 11 trustee “if there are reasonable grounds to suspect that current

members of the governing body of the debtor . . . participated in actual fraud, dishonesty, or

criminal conduct in the management of the debtor . . . .”



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       14.     “[T]he statutory requirement that the U.S. Trustee bring such a motion does not

alter the standard for deciding whether to grant the motion. Rather, §1104(a)(1) & (2) . . . continue

to control whether a trustee should be appointed.” In re The 1031 Tax Group, LLC, 374 B.R. 78

(Bankr. S.D.N.Y. 2007).

       15.     Section 1104(a) provides in pertinent part as follows:

       At any time after the commencement of the case but before confirmation of a plan,
       on request of a party in interest or the United States Trustee, and after notice and a
       hearing, the court shall order the appointment of a trustee—

       (1) for cause, including fraud, dishonesty, incompetence, or gross mismanagement
       of the affairs of the debtor by current management, either before or after the
       commencement of the case, or similar cause, . . .

       (2) if such appointment is in the interests of creditors, any equity security holders,
       and other interests of the estate, without regard to the number of holders of
       securities of the debtor or the amount of assets or liabilities of the debtor; . . .

       A. Cause Exists for the Appointment of a Trustee

       16.     Section 1104(a)(1) compels the appointment of a trustee when the Court finds

fraud, dishonesty, incompetence, gross mismanagement, or other cause. In re V Savino Oil &

Heating Co., 99 B.R. 518, 525-26 (Bankr. E.D.N.Y. 1989).

       17.     The list of wrongs constituting “cause” is non-exclusive; thus “[f]actors relevant to

the appointment of a trustee under § 1104(a)(1) include: conflicts of interest, including

inappropriate relations between corporate parents and the subsidiaries; misuse of assets and funds;

inadequate record keeping and reporting; various instances of conduct found to establish fraud or

dishonesty; and lack of credibility and creditor confidence.” In re Altman, 230 B.R. 6, 16 (Bankr.

D. Conn. 1999), aff’d in part, vacated in part, 254 B.R. 509 (D. Conn. 2000).

       18.     The “court need not find any of the enumerated wrongs to find cause for appointing

a trustee.” Oklahoma Refining Co. v. Blaik (In re Oklahoma Refining Co.), 838 F.2d 1133, 1136



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(10th Cir. 1988); Savino Oil, 99 B.R. at 525 ("the grounds for appointing a reorganization trustee

are not even limited to the derelictions specifically enumerated"); 11 U.S.C. § 102(3) (“including”

is “not limiting”).

        19.     Additionally, “appointment of a trustee under § 1104(a)(1) is appropriate where the

debtor has diverted funds.” In re PHDC, LLC, 2004 WL 5846712 at *3 (Bankr. N.D. Ga. April

28, 2004).

        20.     The indictment of Debtor’s sole member’s sole shareholder, Mr. Wiley, on charges

relating to conversion of funds in Debtor’s control is cause to appoint a chapter 11 trustee.

        21.     Debtor’s pre-petition diversion of funds to non-Debtor accounts is cause to appoint

a chapter 11 trustee.

        B. Appointment of a Trustee is in best interests of creditors.

        22.     The appointment of a trustee under § 1104(a)(2) employs a flexible approach which

allows the Court to appoint a trustee when it would serve the best interests of the estate, its equity

security holders and its creditors, even if there is no finding of fraud, dishonesty, incompetence,

or gross mismanagement. See In re Sharon Steel Corp., 871 F.2d 1217 (3d Cir. 1989).

        23.     Courts examine whether the benefits of a trustee will outweigh the costs to the

estate. In re PDHC, LLC, 2004 WL 5846712, at *3 (Bankr. N.D. Ga. April 28, 2004).

        24.     Under §1104(a)(2), courts look to the practical realities and necessities. In re Euro-

American Lodging Corp., 365 B.R. 421, 427 (Bankr. S.D.N.Y. 2007). The Court should examine

such factors as: (a) the trustworthiness of the debtor; (b) the prospects for rehabilitation of the

debtor under present management; (c) the creditors’ confidence, or lack thereof, in the present

management; (d) the benefits of appointing a trustee balanced against the cost of appointment, and

(e) whether the trustee could accomplish the goals of a chapter 11 plan more efficiently and



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effectively than the debtor in possession. In re Ionosphere Clubs, 113 B.R. 164, 167-68 (Bankr.

S.D.N.Y. 1990), see also, Savino Oil, 99 B.R. at 525 (stating section 1104(a)(2) determination

entails exercise of discretionary powers).

Conclusion

       25.     For the foregoing reasons, and because of the nature of the relief requested, the

United States Trustee requests an expedited hearing on this motion.

       WHEREFORE, the United States Trustee respectfully requests the Court enter an order

directing the appointment of a chapter 11 trustee pursuant to 11 U.S.C. § 1104(a) or in the

alternative, converting Debtor’s case to chapter 7, and for such other relief as the Court deems

appropriate.



                                                    DANIEL M. MCDERMOTT
                                                    UNITED STATES TRUSTEE
                                                    REGION 21

                                                    By:            /s/
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                               CERTIFICATE OF SERVICE

       I hereby certify on May 22, 2018, I mailed a copy of the foregoing by first class United
States mail, properly addressed and with correct postage to the following:

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                                                                  /s/
                                                   Lindsay P. S. Kolba
                                                   Trial Attorney




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